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WESTERN DISTRICT 0F TENNESSEE 9 a 0
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""3€;§,»;,,£‘/
JAMES CREAMER, .IUDGMENT IN A CIVIL CK§E
Plaintiff,
V.
CoRREcTIoNs CoRPoRATIoN cAsE No= 1=99-1274_3
OF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been renderedl

IT IS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on .Iuly 6, 2005, this cause is hereby dismissed with prejudice.

   
   
 

ITED STATES DISTRICT COURT

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Clerk of Court

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(By) Deputy Cierk

T'nis document entered on the docket sheet' cogp§iance
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Honorable J. Breen
US DISTRICT COURT

